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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                            Civil Action No.: 1:20-cv-03761
        Plaintiffs,
                                                            Judge Manish S. Shah
v.
                                                            Magistrate Judge Jeffrey T. Gilbert
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                 87                                        jsbay88
                 108                                   motorpartsvalue
                 356                                     Round2Quit
                 205                                     VfjksjlfI23
                 212                                    Ygsdtefcdd56
                 181                               Happy handicrafts store
                 178                          Flavor beef jerky Bang bang niu
                 188                                       lsanbyre
                 170                               Bingmeiren nv zhuang
                 203                                    Tsjhglsyu345
                 177                                  feixiangxiaodian
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DATED: August 14, 2020               Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
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                                            Chicago, Illinois 60604
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                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 14, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
